                  Case 09-12019-CSS              Doc 1943          Filed 04/06/10       Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                ---------------x

In re                                                               Chapter I I

Premier International Holdings Inc., et al.,l                       Case   No. 09-12019 (CSS)

                  Debtors.                                          (Jointly Administered)

                                                                     Re: Docket No. 1935


                  ORDER EXTENDING THE EXCLUSIVE PERIOD DURING
                  WHICH THE DEBTORS MAY SOLICIT ACCEPTANCES ON
                   THE DEBTORS'JOINT PLAN OF REORGANIZATION

                  As set fonh on the record of the hearing on confirmation of the Debtors' Fourth

Amended Joint Plan of Reorganization [Docket No. 1226] on March 19,2010, and on the record

of the hearing on April 5,2010 at l0:00 a.m. (Eastern Daylight Time), and upon consideration of

the Certification of Counsel Regarding Order Extending the Exclusive Period                      During Which the

Debtors May Solicit Acceptances on the Debtors'Joint Plan of Reorganization,dated April 5,

2010 (the "Certification        of Counsel"), filed by the above-captioned               debtors and debtors in

possession (collectively, the "Debtors"), for entry           of an order extending the period during which

the Debtors have the exclusive right to solicit acceptances of a chapter I I plan in accordance


         The Debtors are the following thirty-seven entities (the last four digits of their respective taxpayer
         identification numbers, if any, follow in parentheses): Astroworld GP LLC (0431), Astroworld LP (0445),
         Astroworld LP LLC (0460), Fiesta Texas Inc. (2900), Funtime, Inc. (7495), Funtime Parks, Inc' (0042),
         Great America LLC (7907), Great Escape Holding lnc. (2284), Great Escape Rides L.P. (9906), Great
         Escape Theme Park L.P. (3322), Hurricane Harbor GP LLC (0376), Hurricane Harbor LP (0408),
         Hurricane Harbor LP LLC (0417), KKI, LLC (2287), Magic Mountain LLC (8004), Park Management
         Corp. (1641), PP Data Services Inc. (8826), Premier International Holdings Inc. (6510), Premier Parks of
         Colorado lnc. (3464), Premier Parks Holdings Inc. (9961), Premier Waterworld Sacramento Inc. (8406),
         Riverside Park Enterprises,lnc. (7486), SF HWP Management LLC (5651), SFJ Management Inc. (4280),
         SFRCC Corp. (1638), Six Flags, Inc. (5059), Six Flags America LP (8165), Six F-lags America Property
         Corporation (5464), Six Flags Great Adventure LLC (S235), Six Flags Great Escape L.P. (8306), Six Flags
         Operations lnc. (7714), Six Flags Services, lnc. (6089), Six Flags Services of lllinois, Inc. (2550), Six Flags
         St. Louis LLC (8376), Six Flags Theme Parks Inc. (4873), South Street Holdings LLC (7486), Stuart
         Amusement Company (2016). The mailing address of each of the Debtors solely for purposes of notices
         and communications is 1540 Broadway, l5th Floor, New York, NY 10036 (Attn: James Coughlin).




RLFI 3556719v.2
                    Case 09-12019-CSS           Doc 1943     Filed 04/06/10    Page 2 of 3



with section l12l of title l1 of the United States Code, 1l U.S.C. $$ 101-1532 (the'oBankruptcy

9ode") (the "Exclusiyg          $oliciffiio      ") from April 5, 2010 through and including April 29,

2010; and    it   appearing that the relief requested is in the best interests of the Debtors' estates,

their creditors and other parties in interest; and it appearing that this Court has jurisdiction over

this matter pursuant to 28 U.S.C. $$ 157 and 1334; and           it appearing that the Certification of
Counsel is a core proceeding pursuant to 28 U.S.C. $ 157(b); and it appearing that venue of this

proceeding and the Certification         of Counsel in this District is proper pursuant to 28 U.S.C.

$$ l40S and 1409; and due, adequate and sufficient notice of this matter having been given; and

it appearing that no other notice need be given; and after due deliberation and the Court having

found sufficient cause exists to extend the Exclusive Solicitation Period,

                   IT IS HEREBY ORDERED THAT:

                    l.     The Exclusive Solicitation Period shall be extended from April 5,2010

through and including April 29, 2010.

                   2.      Notwithstanding anything to the contrary      in this Order   and except   as


limited by section       ll2l   of the Bankruptcy Code, the entry of this Order is without prejudice to

the Debtors' right to seek a further extension of their exclusive periods urder section 1121 of the

Bankruptcy Code or the rights of any party in interest to oppose such request or move pursuant

to section   1l2l of the Bankruptcy      Code to shorten such exclusivity periods,

                    3.     Notwithstanding the potential applicability        of   Rules 8001, 8002 or

otherwise, of the Federal Rules of Bankruptcy Procedure, this Order is effective immediately

upon entry.




RLFI 3556719v.2
                  Case 09-12019-CSS       Doc 1943        Filed 04/06/10   Page 3 of 3



                  4.   This Court shall retain jurisdiction over all matters arising from or related

to the interpretation and implementation of this Order.




 Dated:    April 5     ,2010
           Wilmington, Delaware                          HONORABLE CHRISTOPHER S. SONTCHI
                                                   I,]NITED STATES BANKRUPTCY ruDGE




RLFI 3556719v.2
